Case 1:13-cv-01761-CMA-MJW Document 374 Filed 08/01/17 USDC Colorado Page 1 of 1

 Appellate Case: 16-1319     Document: 01019848933             Date Filed: 08/01/2017   Page: 1
                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Elisabeth A. Shumaker                                                              Chris Wolpert
   Clerk of Court                        August 01, 2017                         Chief Deputy Clerk




   Mr. Jeffrey P. Colwell
   United States District Court for the District of Colorado
   Office of the Clerk
   Alfred A. Arraj U.S. Courthouse
   901 19th Street
   Denver, CO 80294-3589

   RE:       16-1319, White v. Wycoff, et al
             Dist/Ag docket: 1:13-CV-01761-CMA-MJW

   Dear Clerk:

   Please be advised that the mandate for this case has issued today. Please file accordingly
   in the records of your court.

   Please contact this office if you have questions.

                                                 Sincerely,



                                                 Elisabeth A. Shumaker
                                                 Clerk of the Court



   cc:       Darold W. Killmer
             Geoffrey Klingsporn
             Andrew McNulty
             Mari Newman

   EAS/lg
